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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


Adria English
                                                          Civil Action No. 24-CV-05090-AT

                               Plaintiff,

                vs.

Sean Combs, et. al.
                                                          NOTICE OF MOTION
                               Defendants.




         PLEASE TAKE NOTICE, that upon all papers and proceedings in this matter,
Plaintiff9s Attorneys Ariel Mitchell-Kidd, Esq. and Steven A. Metcalf II, Esq., will move this
Court, Hon. Analisa Torres, U.S.D.J., Courtroom 15D, United States Courthouse, 500 Pearl
Street, New York, New York 10007, on October 1, 2024, or as soon thereafter as counsel can
be heard, for an Order, pursuant to Federal Rule of Civil Procedure 55(b)(2), for the Court to
enter a judgment GRANTING attorneys Ariel Mitchell-Kidd, Esq. and Steven A. Metcalf II,
Esq.9s Motion to Withdraw as counsel for Plaintiff Adria English.


Dated:                October 1, 2024
                      New York, New York


                                                   Respectfully submitted,



Ariel Mitchell- Kidd, Esq.                         Steven A. Metcalf II, Esq.
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